Case 2:85-cv-04544-DMG-AGR Document 1015-1 Filed 10/26/20 Page 1 of 15 Page ID
                                 #:41665




                     O.M.G. v. Wolf
                       FILINGS
Case 2:85-cv-04544-DMG-AGR
         Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                          139 Filed
                                              Filed10/26/20
                                                    10/02/20 Page
                                                             Page21of
                                                                   of15
                                                                      3 Page ID
                                    #:41666



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


      O.M.G., et al.,                                  Case No. 1:20-cv-00786-JEB

                           Petitioners,
                                                       NOTICE OF COVID-19
      v.                                               POSITIVE CASES
      Chad WOLF, Acting Secretary of the U.S.
      Department of Homeland Security, et al.,         The Honorable James E. Boasberg

                           Respondents.



            Pursuant to the June 25, 2020 and September 9, 2020 minute orders, Respondents hereby

  notify the Court that, since the last notice, two (2) employees at the Karnes County Family

  Residential Center (“Karnes FRC”) and one (1) employee at the South Texas Family Residential

  Center (“Dilley FRC”) have tested positive for COVID-19. ECF No. 139. U.S. Immigration and

  Customs Enforcement informs the Department of Justice of the following:

           I.     Karnes County Family Residential Center (“Karnes FRC”)

           Employee 1: Employee 1 is a registered nurse, who tested at Karnes FRC on September

 29, 2020, due to experiencing symptoms. On September 30, 2020, the results came back positive.

 At this time, Employee 1 has not required treatment at a hospital or medical facility. Employee 1

 was last at Karnes FRC on September 29, 2020. Contact tracing will not be conducted because

 Employee 1 was not present at Karnes FRC on September 27 and 28, 2020, and, on September 29,

 2020, Employee 1 had no contact with residents and no direct contact with other employees as all

 employees wear appropriate PPE. Employee 1 is and will remain in quarantine for 14 days from

 September 30, 2020. After that time, Employee 1 has been directed to contact Human Resources

 for further guidance before reporting to work.
Case 2:85-cv-04544-DMG-AGR
         Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                          139 Filed
                                              Filed10/26/20
                                                    10/02/20 Page
                                                             Page32of
                                                                   of15
                                                                      3 Page ID
                                    #:41667



        Employee 2: Employee 2 is a recreation specialist, who tested at an off-site facility on

 September 30, 2020, due to experiencing symptoms. That same day, the results came back positive.

 At this time, Employee 2 has not required treatment at a hospital or medical facility. Employee 2

 was last at Karnes FRC on September 29, 2020. Contact tracing was conducted and revealed that

 Employee 2 did not have close contact with any other employees or residents. Employee 2 is and

 will remain in quarantine for 14 days from September 30, 2020. After that time, Employee 2 has

 been directed to contact Human Resources for further guidance before reporting to work.

        II.     South Texas Family Residential Center (“Dilley FRC”)

        Employee 1: Employee 1 is a resident supervisor, who tested at an off-site facility due to

 contact with an individual who tested positive for COVID-19. On September 29, 2020, the results

 came back positive. Employee 1 was last at Dilley FRC on September 29, 2020. Contact tracing

 is currently being conducted for September 29, 2020, as Employee 1 was not present at Dilley

 FRC on September 27 and 28, 2020. If any exposure is identified, the protocols for contact

 exposure previously described in ECF No. 108 will be implemented. At this time, Employee 1 has

 not required treatment at a hospital or medical facility. Employee 1 is and will remain in quarantine

 for 14 days from September 28, 2020.

        RESPECTFULLY SUBMITTED this 2nd day of October, 2020.


                                         MICHAEL R. SHERWIN
                                         Acting United States Attorney
                                         District of Columbia

                                        DANIEL VAN HORN
                                        Assistant U.S. Attorney
                                        555 4th St. NW, Washington, DC 20530
                                        Telephone: (202) 252-2506
                                        Email: Daniel.VanHorn@usdoj.gov

                                         JEFFREY BOSSERT CLARK
                                         Acting Assistant Attorney General
Case 2:85-cv-04544-DMG-AGR
         Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                          139 Filed
                                              Filed10/26/20
                                                    10/02/20 Page
                                                             Page43of
                                                                   of15
                                                                      3 Page ID
                                    #:41668



                               Civil Division

                               WILLIAM C. PEACHEY
                               Director
                               Office of Immigration Litigation
                               District Court Section

                               ELIANIS PEREZ
                               Assistant Director

                               s/ Jordan K. Hummel
                               JORDAN K. HUMMEL
                               Trial Attorney
                               Office of Immigration Litigation - DCS
                               P.O. Box 868, Ben Franklin Station
                               Washington, DC 20044
                               Telephone: (202) 598-8715
                               Email: jordan.hummel@usdoj.gov

                               Attorneys for Respondents
Case 2:85-cv-04544-DMG-AGR
         Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                          142 Filed
                                              Filed10/26/20
                                                    10/09/20 Page
                                                             Page51of
                                                                   of15
                                                                      3 Page ID
                                    #:41669



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


      O.M.G., et al.,                                     Case No. 1:20-cv-00786-JEB

                            Petitioners,
                                                          NOTICE OF COVID-19
      v.                                                  POSITIVE CASES
      Chad WOLF, Acting Secretary of the U.S.
      Department of Homeland Security, et al.,            The Honorable James E. Boasberg

                            Respondents.



            Pursuant to the June 25, 2020 and September 9, 2020 minute orders, Respondents hereby

  notify the Court that, since the last notice (ECF No. 139), two (2) employee at the Karnes County

  Family Residential Center (“Karnes FRC”) have tested positive for COVID-19. U.S.

  Immigration and Customs Enforcement informs the Department of Justice of the following:

           I.     Karnes County Family Residential Center (“Karnes FRC”)

           Employee 1: Employee 1 is a licensed practical nurse, who tested at an off-site facility, due

 to experiencing symptoms. On October 5, 2020, the results came back positive. At this time,

 Employee 1 has not required treatment at a hospital or medical facility. Employee 1 was last at

 Karnes FRC on October 2, 2020. Contact tracing was conducted for October 2, 3, and 4, 2020, and

 revealed that Employee 1 was in contact with two co-workers on October 2, 2020. Human

 Resources notified the exposed co-workers with instructions on steps to follow. The exposed co-

 workers are and will be required to cohort or self-quarantine for 14 days and are asked to report

 any symptoms to the Human Resources Department. Employee 1 is and will remain in quarantine

 for 14 days from October 5, 2020. After that time, Employee 1 has been directed to contact Human

 Resources for further guidance before reporting to work.
Case 2:85-cv-04544-DMG-AGR
         Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                          142 Filed
                                              Filed10/26/20
                                                    10/09/20 Page
                                                             Page62of
                                                                   of15
                                                                      3 Page ID
                                    #:41670



        Employee 2: Employee 2 is a licensed practical nurse, who tested at an off-site facility, due

 to experiencing symptoms. On October 8, 2020, the results came back positive. At this time,

 Employee 2 has not required treatment at a hospital or medical facility. Employee 2 was last at

 Karnes FRC on October 2, 2020. Contact tracing will not be conducted as Employee 2 was not

 present at Karnes FRC for more than 5 days before Employee 2’s positive test result. Employee 2

 is and will remain in quarantine for 14 days from October 8, 2020. After that time, Employee 2

 has been directed to contact Human Resources for further guidance before reporting to work.

        RESPECTFULLY SUBMITTED this 9th day of October, 2020.


                                        MICHAEL R. SHERWIN
                                        Acting United States Attorney
                                        District of Columbia

                                       DANIEL VAN HORN
                                       Assistant U.S. Attorney
                                       555 4th St. NW, Washington, DC 20530
                                       Telephone: (202) 252-2506
                                       Email: Daniel.VanHorn@usdoj.gov

                                        JEFFREY BOSSERT CLARK
                                        Acting Assistant Attorney General
                                        Civil Division

                                        WILLIAM C. PEACHEY
                                        Director
                                        Office of Immigration Litigation
                                        District Court Section

                                        ELIANIS PEREZ
                                        Assistant Director

                                        s/ Jordan K. Hummel
                                        JORDAN K. HUMMEL
                                        Trial Attorney
                                        Office of Immigration Litigation - DCS
                                        P.O. Box 868, Ben Franklin Station
                                        Washington, DC 20044
                                        Telephone: (202) 598-8715
                                        Email: jordan.hummel@usdoj.gov
Case 2:85-cv-04544-DMG-AGR
         Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                          142 Filed
                                              Filed10/26/20
                                                    10/09/20 Page
                                                             Page73of
                                                                   of15
                                                                      3 Page ID
                                    #:41671




                               Attorneys for Respondents
Case 2:85-cv-04544-DMG-AGR
         Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                          143 Filed
                                              Filed10/26/20
                                                    10/16/20 Page
                                                             Page81of
                                                                   of15
                                                                      5 Page ID
                                    #:41672



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


     O.M.G., et al.,                                     Case No. 1:20-cv-00786-JEB

                           Petitioners,
                                                         NOTICE OF COVID-19
     v.                                                  POSITIVE CASES
     Chad WOLF, Acting Secretary of the U.S.
     Department of Homeland Security, et al.,            The Honorable James E. Boasberg

                           Respondents.



           Pursuant to the June 25, 2020 and September 9, 2020 minute orders, Respondents hereby

  notify the Court that, since the last notice (ECF No. 142), one (1) employee, one (1) new intake,

  and three (3) residents at the Karnes County Family Residential Center (“Karnes FRC”), one

  (1) new intake at the South Texas Family Residential Center (“Dilley FRC”), and one (1) former

  employee at the Berks Family Residential Center (“Berks FRC”), have tested positive for

  COVID-19. U.S. Immigration and Customs Enforcement informs the Department of Justice of

  the following:

          I.     Karnes County Family Residential Center (“Karnes FRC”)

          Employee 1: Employee 1 is a licensed practical nurse, who tested at an off-site facility, due

 to experiencing symptoms. On October 9, 2020, the results came back positive. At this time,

 Employee 1 has not required treatment at a hospital or medical facility. Employee 1 was last at

 Karnes FRC on October 7, 2020. Contact tracing was conducted for October 7, 2020, and revealed

 that Employee 1 was in contact with one co-worker on that date. Human Resources notified the

 exposed co-worker with instructions on steps to follow. The exposed co-worker is and will be

 required to self-quarantine for 14 days and is asked to report any symptoms to the Human
Case 2:85-cv-04544-DMG-AGR
         Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                          143 Filed
                                              Filed10/26/20
                                                    10/16/20 Page
                                                             Page92of
                                                                   of15
                                                                      5 Page ID
                                    #:41673



 Resources Department. Employee 1 is and will remain in quarantine for 14 days from October 9,

 2020. After that time, Employee 1 has been directed to contact Human Resources for further

 guidance before reporting to work.

        New Intake 1: New Intake 1 was tested at Karnes FRC on October 6, 2020, as part of the

 new intake process. On October 9, 2020, the results came back positive. New Intake 1 is

 asymptomatic, and being closely monitored. New Intake 1 is and will remain in quarantine for 14

 days from the date of the positive test result, and, if New Intake 1 remains asymptomatic, will

 complete quarantine on October 24, 2020. At this time, New Intake 1 has not required treatment

 at an outside hospital or medical facility. All new intakes who arrived at the facility with New

 Intake 1 and remain asymptomatic are and will remain in cohort for 14 days from their arrival at

 Karnes FRC, until October 21, 2020, and will be monitored and assessed for signs and symptoms

 of COVID-19 once per day.

        Resident 1: Resident 1 arrived at Karnes FRC on October 6, 2020, and was tested as part

 of the new intake program. The results of that test came back negative. Following the procedures

 applicable to all new intakes, Resident 1 began a 14-day cohort, projected to be completed on

 October 21, 2020. On October 12, 2020, Resident 1 was scheduled to be released from Karnes

 FRC and was tested a second time at Karnes FRC as part of the release process. That same day,

 the results came back positive. Resident 1 is asymptomatic, and being closely monitored. Resident

 1 is and will remain in quarantine for 14 days from the date of the positive test result, and, if

 Resident 1 remains asymptomatic, will complete quarantine on October 27, 2020. At this time,

 Resident 1 has not required treatment at an outside hospital or medical facility. All new intakes

 who arrived at the facility with Resident 1 on October 6, 2020, and remain asymptomatic are and

 will remain in cohort for 14 days from their date of arrival, until October 21, 2020, and will be
Case 2:85-cv-04544-DMG-AGR
          Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                           143 Filed
                                                Filed10/26/20
                                                      10/16/20 Page
                                                                Page10
                                                                     3 of 5
                                                                          15 Page ID
                                    #:41674



  monitored and assessed for signs and symptoms of COVID-19 once per day.

         Resident 2: Resident 2 arrived at Karnes FRC on October 12, 2020, and was tested as part

  of the new intake program. The results of that test came back negative. Following the procedures

  applicable to all new intakes, Resident 2 began a 14-day cohort, projected to be completed on

  October 27, 2020. On October 14, 2020, Resident 2 was scheduled to be released from Karnes

  FRC and was tested a second time at Karnes FRC as part of the release process. That same day,

  the results came back positive. Resident 2 is asymptomatic, and being closely monitored. Resident

  2 is and will remain in quarantine for 14 days from the date of the positive test result, and, if

  Resident 2 remains asymptomatic, will complete quarantine on October 29, 2020. At this time,

  Resident 2 has not required treatment at an outside hospital or medical facility. All new intakes

  who arrived at the facility with Resident 2 on October 12, 2020, and remain asymptomatic are and

  will remain in cohort for 14 days from their date of arrival, until October 27, 2020, and will be

  monitored and assessed for signs and symptoms of COVID-19 once per day.

         Resident 3: Resident 3 arrived at Karnes FRC on October 12, 2020, and was tested as part

  of the new intake program. The results of that test came back negative. Following the procedures

  applicable to all new intakes, Resident 2 began a 14-day cohort, projected to be completed on

  October 27, 2020. On October 14, 2020, Resident 3 was scheduled to be released from Karnes

  FRC and was tested a second time at Karnes FRC on as part of the release process. That same day,

  the results came back positive. Resident 3 is asymptomatic, and being closely monitored. Resident

  3 is and will remain in quarantine for 14 days from the date of the positive test result, and, if

  Resident 3 remains asymptomatic, will complete quarantine on October 29, 2020. At this time,

  Resident 3 has not required treatment at an outside hospital or medical facility. All new intakes

  who arrived at the facility with Resident 3 on October 12, 2020, and remain asymptomatic are and
Case 2:85-cv-04544-DMG-AGR
          Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                           143 Filed
                                                Filed10/26/20
                                                      10/16/20 Page
                                                                Page11
                                                                     4 of 5
                                                                          15 Page ID
                                    #:41675



  will remain in cohort for 14 days from their date of arrival, until October 27, 2020, and will be

  monitored and assessed for signs and symptoms of COVID-19 once per day.

         II.     South Texas Family Residential Center (“Dilley FRC”)

         New Intake 1: New Intake 1 was tested at Dilley FRC on October 9, 2020, as part of the

  new intake process. On October 12, 2020, the results came back positive. New Intake 1 is

  asymptomatic, and being closely monitored. New Intake 1 is and will remain in quarantine for 14

  days from the date of the positive test result, and, if New Intake 1 remains asymptomatic, will

  complete quarantine on October 27, 2020. At this time, New Intake 1 has not required treatment

  at an outside hospital or medical facility. All new intakes who arrived at the facility with New

  Intake 1 and remain asymptomatic are and will remain in cohort for 14 days from their arrival at

  Dilley FRC, until October 24, 2020, and will be monitored and assessed for signs and symptoms

  of COVID-19 once per day.

         III.    Berks Family Residential Center (“Berks FRC”)

         Former Employee 1: Former Employee 1 is an advance practice provider, who tested at

  an off-site facility on October 12, 2020, due to experiencing symptoms. On October 16, 2020,

  the results came back positive. At this time, Former Employee 1 has not required treatment at a

  hospital or medical facility. Former Employee 1 was last at Berks FRC on October 9, 2020, and

  resigned from his position at Berks FRC on October 16, 2020. Contact tracing was conducted for

  October 9, 2020, and revealed that Former Employee 1 was not in contact with any residents and

  was not in direct contact with any co-workers on that date. Former Employee 1 has been in

  quarantine since October 11, 2020, and, due to his resignation, will not return to Berks

  FRC.RESPECTFULLY SUBMITTED this 16th day of October, 2020.


                                         MICHAEL R. SHERWIN
                                         Acting United States Attorney
Case 2:85-cv-04544-DMG-AGR
          Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                           143 Filed
                                                Filed10/26/20
                                                      10/16/20 Page
                                                                Page12
                                                                     5 of 5
                                                                          15 Page ID
                                    #:41676



                                 District of Columbia

                                 DANIEL VAN HORN
                                 Assistant U.S. Attorney
                                 555 4th St. NW, Washington, DC 20530
                                 Telephone: (202) 252-2506
                                 Email: Daniel.VanHorn@usdoj.gov

                                 JEFFREY BOSSERT CLARK
                                 Acting Assistant Attorney General
                                 Civil Division

                                 WILLIAM C. PEACHEY
                                 Director
                                 Office of Immigration Litigation
                                 District Court Section

                                 ELIANIS PEREZ
                                 Assistant Director

                                 s/ Jordan K. Hummel
                                 JORDAN K. HUMMEL
                                 Trial Attorney
                                 Office of Immigration Litigation - DCS
                                 P.O. Box 868, Ben Franklin Station
                                 Washington, DC 20044
                                 Telephone: (202) 598-8715
                                 Email: jordan.hummel@usdoj.gov

                                 Attorneys for Respondents
Case 2:85-cv-04544-DMG-AGR
          Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                           144 Filed
                                                Filed10/26/20
                                                      10/23/20 Page
                                                                Page13
                                                                     1 of 3
                                                                          15 Page ID
                                    #:41677



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


       O.M.G., et al.,                                  Case No. 1:20-cv-00786-JEB

                            Petitioners,
                                                        NOTICE OF COVID-19
       v.                                               POSITIVE CASES
       Chad WOLF, Acting Secretary of the U.S.
       Department of Homeland Security, et al.,         The Honorable James E. Boasberg

                            Respondents.



             Pursuant to the June 25, 2020 and September 9, 2020 minute orders, Respondents hereby

   notify the Court that, since the last notice (ECF No. 143), one (1) new intake at the Karnes

   County Family Residential Center (“Karnes FRC”), and one (1) employee at the South Texas

   Family Residential Center (“Dilley FRC”), have tested positive for COVID-19. U.S.

   Immigration and Customs Enforcement informs the Department of Justice of the following:

            I.     Karnes County Family Residential Center (“Karnes FRC”)

            New Intake 1: New Intake 1 was tested at Karnes FRC on October 19, 2020, as part of the

  new intake process. On October 22, 2020, the results came back positive. New Intake 1 is

  asymptomatic, and being closely monitored. New Intake 1 is and will remain in quarantine for 14

  days from the date of the positive test result, and, if New Intake 1 remains asymptomatic, will

  complete quarantine on November 6, 2020. At this time, New Intake 1 has not required treatment

  at an outside hospital or medical facility. All new intakes who arrived at the facility with New

  Intake 1, and remain asymptomatic, are and will remain in cohort for 14 days from their arrival at

  Karnes FRC, until October 31, 2020, and will be monitored and assessed for signs and symptoms

  of COVID-19 once per day.
Case 2:85-cv-04544-DMG-AGR
          Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                           144 Filed
                                                Filed10/26/20
                                                      10/23/20 Page
                                                                Page14
                                                                     2 of 3
                                                                          15 Page ID
                                    #:41678



         II.    South Texas Family Residential Center (“Dilley FRC”)

         Employee 1: Employee 1 is a resident supervisor, who tested at an off-site facility on

  October 19, 2020, due to experiencing symptoms. That same day, the results came back positive.

  At this time, Employee 1 has not required treatment at a hospital or medical facility. Employee 1

  was last at Dilley FRC on October 14, 2020. Contact tracing is currently being conducted for

  October 12, 13, and 14, 2020. If any exposure is identified, the protocols for contact exposure

  previously described in ECF No. 108 will be implemented. Employee 1 is and will remain in

  quarantine for 14 days from October 19, 2020. After that time, Employee 1 has been directed to

  contact Human Resources for further guidance before reporting to work.

         RESPECTFULLY SUBMITTED this 23rd day of October, 2020.


                                        MICHAEL R. SHERWIN
                                        Acting United States Attorney
                                        District of Columbia

                                        DANIEL VAN HORN
                                        Assistant U.S. Attorney
                                        555 4th St. NW, Washington, DC 20530
                                        Telephone: (202) 252-2506
                                        Email: Daniel.VanHorn@usdoj.gov

                                        JEFFREY BOSSERT CLARK
                                        Acting Assistant Attorney General
                                        Civil Division

                                        WILLIAM C. PEACHEY
                                        Director
                                        Office of Immigration Litigation
                                        District Court Section

                                        ELIANIS PEREZ
                                        Assistant Director

                                        s/ Jordan K. Hummel
                                        JORDAN K. HUMMEL
                                        Trial Attorney
                                        Office of Immigration Litigation - DCS
Case 2:85-cv-04544-DMG-AGR
          Case 1:20-cv-00786-JEB
                              Document
                                 Document
                                       1015-1
                                           144 Filed
                                                Filed10/26/20
                                                      10/23/20 Page
                                                                Page15
                                                                     3 of 3
                                                                          15 Page ID
                                    #:41679



                                 P.O. Box 868, Ben Franklin Station
                                 Washington, DC 20044
                                 Telephone: (202) 598-8715
                                 Email: jordan.hummel@usdoj.gov

                                 Attorneys for Respondents
